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             Nos. 22-13051, 22-13052, 22-13118, & 22-13120


           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT

                    IN RE: BLUE CROSS BLUE SHIELD
                   ANTITRUST LITIGATION(MDL 2406)

                On Appeal from the United States District
                Court for theNorthern District of Alabama,
                            Southern Division,
                        No. 2:13-CV-20000-RDP
                                                                            _

         OBJECTOR-APPELLANTS JENNIFER COCHRAN
            AND AARON CRAKER’S REPLY BRIEF

                                                                            _


          George W. Cochran
          LAW OFFICE OF GEORGE W. COCHRAN
          1981 Crossfield Circle
          Kent, Ohio 44240
          Tel: (330) 607-2187
          Fax: (330) 230-6136
          lawchrist@gmail.com




                        Counsel for Objector-Appellants
                        Jennifer Cochran and Aaron Craker
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                  Nos. 22-13051, 22-13052, 22-13118, & 22-13120



               CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT



      Certificate of Interested Persons. Pursuant to 11TH CIR. R. 26.1 and 11TH CIR.

R. 26.1-1(b), Appellants certify that they believe the Certificate of Interest Persons is

complete.

      Corporate Disclosure. Pursuant to FED. R. APP. P. 26.1 and 11TH CIR. R. 26.1-

1, 26.1-2, and 26.1-3, Appellants submit this Corporate Disclosure Statement in order

to declare that neither party is a non-governmental corporation.

       Dated: March 24, 2023                     Respectfully submitted,

                                                 /s/ George W. Cochran
                                                 George W. Cochran
                                                 Counsel for Objector-Appellants
                                                 Jennifer Cochran and Aaron Craker
                                                 1981 Crossfield Circle
                                                 Kent, Ohio 44240
                                                 Tel: (330) 607-2187
                                                 Fax: (330) 230-6136
                                                 lawchrist@gmail.com




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                                SUMMARY OF REPLY

       Class counsel’s opposition to Cochran’s1 appeal only underscores Plaintiffs’

abject failure to represent unnamed employees impartially in the allocation of

unclaimed funds. What they concede, in fact, is more telling than what they assert.

Concerned Cochran’s objection has merit, Plaintiffs resort to labeling her attorney a

‘serial objector’. However, courts have long recognized the critical role played by

experienced counsel in challenging a settlement’s fairness.2 Their contribution is

especially significant when a settlement proposes to release defendants from a

complex issue beyond class members’ grasp or ability to pursue.

       Such is the case with Blue Cross-Blue Shield’s (“BCBS’”) settlement. The

central question raised by Cochran’s appeal is whether the district court committed

reversible error by approving a distribution of unclaimed funds that enriches

employers at employees’ expense without addressing the employer’s ERISA

obligations or providing employees adequate representation. As a result, a handful

of employer representatives were able to hijack $140 million of employee wages

right under the court’s nose. Since class counsel defends the order as “fact

intensive”, it’s important to remember how intense the facts really are:



1
  Pursuant to Loc.R. 28(d), Objectors-Appellants Jennifer Cochran and Aaron Craker are cited
herein as “Cochran”, Plaintiffs-Appellees are “Plaintiffs”, and Defendants-Appellees are “BCBS”.
2
  Cochran’s attorney has contributed much to this positive track record. For example, the court
ruled he made several enhancements to the Syngenta settlement that justified his fee.


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                                 FACTS
     ________________________________________________________

     Class representatives—who are mostly employers—structure the

     settlement to divert unclaimed employee assets to themselves, even

     though no one denies the funds belong in the employees' welfare plan. If

     they receive the “full boatload” of these funds, employers will get “the

     lion’s share of the recovery.” Yet the Settlement imposes no restrictions

     on how employers may actually spend the money. Neither is there a

     mechanism for ensuring their presumed compliance. In the meantime,

     DOL’s Secretary warns the employees' discriminatory treatment raises

     serious ERISA concerns. One is breaching the employer’s duty of loyalty

     by using plan assets for personal gain. Another is causing the plans to

     lend   money    to   employers    even     though    they’re      parties   in

     interest. Convinced they’re right about this “very technical ERISA

     matter” even though it’s “completely unsettled”, Plaintiffs insist it

     would be wrong to condition the employer’s receipt of employee funds

     on complying with the statute. Confident that employers will “do what’s

     right”, the court ignores DOL’s concerns before pushing the whole

     ERISA matter downstream to millions of potential lawsuits.

     _________________________________________________________



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      In choosing Plaintiffs’ assurances over DOL’s plea, the district court

overlooked ERISA’s impact, committed clear errors, and sanctioned employers’

breach of loyalty to employees. These judicial missteps formed a perfect storm for

abuse of discretion. The fact that no other class member caught this fatal flaw

testifies to counsel’s considerable experience with complex class settlements. That

the federal agency charged with enforcing ERISA shares his concern shows the issue

has sweeping ramifications.

      While class counsel try hard to ignore this ‘elephant in the room,’ their

response only adds salt to employees’ wound. The consequences of the Settlement’s

double-standard also loom large. Besides the fact that untold millions abandoned

their claims without appreciating the implications, six million claimants will have a

rude awakening unless this Court makes it right. The only way to prevent a train

wreck is to appoint independent counsel for the employees’ exclusive protection.

Nothing in Plaintiffs’ response changes what justice demands: vacating the order

with instructions to provide subclass representation.




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                                    ARGUMENT

I.    Plaintiffs’ Response Ignores Several Clear Errors That Invalidate
      The Court’s Analysis of Adequate Representation.

      The premise of Cochran’s appeal is a defective process produces a defective

product. Likewise, the key to a fair settlement is adequate representation. Matsushita

Elec. Indus. Co. v. Epstein, 516 U.S. 367 (1996). This takes top priority because it

protects absent members’ rights before binding them to judgment. Id. at 379 n.5.

Even fairness takes a back seat to ensuring the class is “sufficiently cohesive to

warrant adjudication.” Denney v Deutsche Bank, 443 F.3d 253, 268 (2nd Cir. 2006)).

Accordingly, the district court must rigorously analyze whether this requirement is

satisfied. Martinez-Mendoza v. Champion Int'l Corp., 340 F.3d 1200, 1216 n. 37

(11th Cir.2003). Settlements that don’t comply shouldn’t be approved. In re Payment

Card Interchange Fee & Merch. Disc. Antitrust Litig. (2nd Cir. 2016).

      The analysis begins by recognizing the burden of proof rests squarely with the

plaintiffs. Wallace B. Roderick Revocable Living Trust v. XTO Energy, Inc., 725

F.3d 1213, 1218 (10th Cir. 2013) (relaxing or shifting strict burden of proof under

Rule 23(a) is abuse of discretion). To certify their claims for class treatment, the

named plaintiffs must show they will fairly and adequately represent all members.

Heaven v. Trust Co. Bank, 118 F.3d 735, 737 (11th Cir.1997). While the court has

some discretion in the matter, it must still accurately interpret applicable law. Valley

Drug Co. v. Geneva Pharmaceuticals, Inc., 350 F.3d 1181, 1187 (11th Cir. 2003).

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      Appellate review of class certification thus poses two questions: (1) Does the

order contain clear legal or factual error? (2) Does it fall outside the range of

permissible decisions? In re Literary Works in Elec. Databases Copyright Litig., 654

F.3d 242, 249 (2d Cir. 2011). Evaluating the representatives’ adequacy, however,

asks two more: (1) Did they have a conflict of interest with any class member? (2)

Did they vigorously prosecute the action for all class members? E. Tex. Motor

Freight Sys., Inc. v. Rodriguez, 431 U.S. 395, 403 (1977). If the court topples even

one hurdle, certifying the class for settlement purposes is abuse of discretion. Id.

Factual findings are reviewed for clear error, while legal conclusions are examined

de novo. Charron v. Wiener, 731 F.3d 241, 247 (2d Cir. 2013).

      The order approving BCBS’ settlement trips all four. Fundamental conflicts

in the settlement’s structure empowered Plaintiffs to negotiate a distribution of

unclaimed funds that enriched themselves at their employees’ expense. That their

chosen vehicle was a prohibited transaction adds salt to the wound. Instead of

probing deeper, the court certified a unified class with no representative dedicated

to safeguarding the employees’ right to a fair share of the residuals. Approving a

settlement with a fundamental conflict that harms the very class members Plaintiffs

are supposed to protect is reversible error.




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   A. The First Error Was Approving a Settlement Structure That Enabled
      Employer Representatives To Win Their Economic Conflict With
      Unnamed Employees Over Unclaimed Funds.

         Plaintiffs’ first mistake is focusing on the wrong issue. This Circuit has long

recognized three types of intra-class conflict threatening a representative’s

adequacy: (1) when one group benefits from the same conduct harming another

(Type A) (2) when two groups have opposing interests (Type B) or (3) when one

group’s economic objectives clash with another’s (Type C). Valley Drug Co. v.

Geneva Pharmaceuticals, Inc., 350 F.3d 1181, 1189 (11th Cir. 2003). These

classifications were recently affirmed in Shiyang Huang v. Equifax Inc. (In re

Equifax Inc. Customer Data Sec. Breach Litig.), 999 F.3d 1247, 1275 (11th Cir.

2021).

         Objections to the first (most common) type are defeated by showing the same

conduct harmed each group differently. That Plaintiffs rely exclusively on this line

of cases confirms their defense applies to Type A conflict only. It also explains why

they portray Cochran’s objection as “mere speculation” about a non-existent

problem that steers clear of ERISA. The intra-class conflict woven into BCBS’

agreement, however, is a ‘tiger of a different stripe’. Because it also strikes at the

very heart of the litigation, it should have been addressed head-on.

         In a unified class action, adequacy must be scrutinized whenever the proposed

settlement treats similar claims differently. In re Nat'l Football League Players'



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Concussion Injury Litig. (E.D. Pa. 2015). A primary concern is whether the

representatives’ economic interest impaired their ability to represent all class

members impartially. Better v. YRC Worldwide Inc. (D. Kan. 2016). If so, the

problem may be corrected by altering the class’ structure. Georgine v. Amchem

Prods., Inc., 83 F.3d 610, 631 (3d Cir. 1996) (applying structural protections to

assure that differently affected plaintiffs “negotiate for their own unique interests”).

       Such is the case with BCBS’ settlement. Cochran doesn’t claim employees

were harmed by the same conduct that benefitted employers. Neither does she allege

employers and employees have opposing interests. Rather, she contends the

Employer Representatives leveraged their appointment to undercut employees’

recovery for personal gain.3 The goal? Winning a tug-of-war for limited funds. The

result? An allocation scheme that enriches employers at employees’ expense. The

fallout? A shining example of Type C conflict. DOL explained how this economic

clash bore fruit at the bargaining table:

       [E]mployers [] must consider different economic interests when
       negotiating or approving a settlement *** The problem is that both [the
       employers’ and employees’] claims assert an injury over the same
       overcharge. The Secretary considers this conflict significant in the
       context of the settlement’s negotiation and resultant framework.




3
 That the outnumbered employee representatives allowed this to happen not only sealed their own
inadequacy, it proved the need for separate representation.


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      (Doc. No. 2812-13 at 6). Who emerged victorious is also plain to see. Funds

not claimed by employers go to the class; funds not claimed by employees go to the

employer. This double-standard flies in the face of equitable distributions. In a non-

reversionary common fund requiring the submission of claims, residuals are usually

shared proportionately among all claimants. Rule 23(e)(2)(D); In re Airline Ticket

Com’n Antitrust Litigation, 307 F.3d 679, 682 (8th Cir. 2002). With the sole

exception of employees’ unclaimed funds, the parties honored this bedrock

principle. (Doc. 2610-2 at 47-48). By choosing to divert employee residuals to their

employers, Plaintiffs doomed millions to certain harm.

   B. The Second Error Was Permitting Employer Representatives To Violate
      ERISA By Seizing Their Employees’ Assets.

      Plaintiffs’ second mistake is sugarcoating ERISA’s impact. If commandeering

employees’ unclaimed funds doesn’t broadcast their partiality, using a prohibited

transaction to execute the plan removes all doubt. Because ERISA’s own champion

saw all the warning signs, the court was fully aware of the consequences.

“Considerable weight should be accorded to an executive department's construction

of a statutory scheme it is entrusted to administer, and the principle of deference to

administrative interpretations ‘has been consistently followed by this Court.’”

Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 844

(1984). Therefore, courts should not “rewrite or tamper with the enforcement scheme




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embodied in the remedial provision.” Massachusetts Mut. Life Ins. Co. v. Russell,

473 U.S. 134, 147 (1985).

       The Secretary of Labor is specifically “charged by Congress with

responsibility for interpreting and enforcing the definitional, coverage, reporting and

disclosure, and fiduciary responsibility provisions of Title I of ERISA. []. The

Secretary therefore has a substantial interest in the proper interpretation of [its]

provisions [].” Cvelbar v. CBI Illinois Inc., 106 F.3d 1368, 1373 n.3 (7th Cir. 1997).

This time, however, the Secretary’s warning fell on deaf ears. Instead, the court was

swayed by the litigation’s storied history, the Settlement’s notable benefits, an

expert’s exposition on “economic fairness”4 and (most critically) class counsel’s

insistence that ERISA doesn’t apply. (Doc. No. 2866 at 23; Doc. No. 2931 at 78-79).

       By fixating on the Settlement’s veneer instead of scrutinizing DOL’s concern,

the court glossed over ERISA’s impact. During the settlement phase, a district judge

must exercise “the high duty of care that the law requires of fiduciaries.” Reynolds

v. Beneficial National Bank, 288 F.3d 277, 280 (7th Cir. 2002). Certification is

proper only if “the trial court is satisfied, after a rigorous analysis, that the

prerequisites of Rule 23(a) have been satisfied.” (emphasis added) General




4
 Unlike Cendant, Cochran soundly deconstructed Chodorow’s “fact based” report. (11th Cir. Doc.
No. 124 at 38-41). Cochran also showed the allocation mediator had confused the distribution of
employees’ unclaimed funds with classic pro-rata allocation. (Doc. No. 2610-8 at ¶7).

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Telephone Co. of Southwest v. Falcon, 457 U.S. 147, 156 (1982). The Third Circuit

explained why it’s important to look beyond a settlement’s veneer:

      These inferences depend on the implicit assumption that the lawyers
      actually negotiating really were doing so on behalf of the entire class,
      assumptions which are clearly unjustified in a context where the
      potential for intra-class conflict further imperils the class's
      representation. Far too much turns on the adequacy of representation to
      accept it on blind faith.

      In re General Motors Corp. Pick-Up Truck Fuel Tank Products Liability

Litigation, 55 F.3d 768, 797 (3rd Cir. 1995). Specifically, the court warned a

distribution is primed to award “considerably more value to one class of plaintiffs

than to another.” Id. As if to prove the point, it then proceeded to find conspicuous

evidence of intra-class conflict in the settlement’s very terms. Id. at 800-01.

             1. ERISA’s Multi-Faceted Impact On The Settlement Was
                Obvious.

      Similar flags were raised in BCBS’ Agreement. The Employees’ Retirement

and Income Security Act (“ERISA”) was enacted in 1974 to regulate workers’

pensions and health benefits. Lanfear v. Home Depot, Inc., 679 F.3d 1267, 1278

(11th Cir. 2012). Its prime objective is to protect employees’ vulnerable interest in

plan assets. Smith v. National Credit Union Admin. Bd., 36 F.3d 1077, 1080 (11th

Cir. 1994). Consistent with this remedial purpose, a “fiduciary” is liberally construed

as anyone who “exercises any discretionary authority or discretionary control

respecting management of [a] plan or exercises any authority or control respecting



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management or disposition of its assets.” Bannistor v. Ullman, 287 F.3d 394, 401

(5th Cir. 2002). All fiduciaries owe participants the highest standard of care known

to law. Herman v. NationsBank Trust Co. (Ga.), 126 F.3d 1354, 1361 (11th Cir.

1997). Those who breach it will be held personally responsible. Id.

      While ERISA doesn’t define “plan assets”, its regulations clarify that funds

contributed by employees to the company’s welfare plan are included. See 29 C.F.R.

§2510.3-102 (1989). Anyone who exercises control over the employee’s

contribution thus becomes a functional fiduciary. LoPresti v. Terwilliger, 126 F.3d

34, 40 (2nd Cir. 1997). In United States v. Grizzle, 933 F.2d 943 (11th Cir. 1991),

this Court went a step further:

       [A]ssets of employee benefit plans subject to ERISA include employee
      contributions to benefit plans which are withheld from employees'
      paychecks and for deposit into their benefit plans, even though the
      contributions have not actually been delivered to the benefit plan.
      (emphasis added)

      Id. at 947. The Court’s reasoning applies with equal force to the POA’s

allocation of unclaimed employee contributions. That the Agreement doesn’t

mandate depositing these funds into the employer’s welfare plan isn’t the only

problem: the representatives’ decision to snatch this loot for themselves also altered

their character. (Doc. No. 2812-11 at 12). Hence, the district court cautioned that

“all ERISA duties still apply, all ERISA fiduciaries must comply with those duties,

and this Settlement does nothing to change or alter ERISA rights.” (Doc. No. 2931



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at 76). Unfortunately, only the first two statements are correct. DOL’s guidance on

Medical Loss Rebates (another type of premium refund) contradicts the third:

         [I] f participants paid the entire cost of the insurance coverage, then the
         entire amount of the rebate would be attributable to participant
         contributions and considered to be plan assets. (emphasis added)

         Id. (citing 29 C.F.R. §2510.3-102). It follows that employees’ unclaimed

refunds for past contributions were revived as plan assets immediately upon their

assignment to employers. While abandoning a claim may forfeit an employee’s

present interest in the funds, DOL cautions that “assets of a plan generally are to be

identified on the basis of ordinary notions of property rights under non-ERISA law.”5

Specifically, an employee benefit welfare plan may include “any property, tangible

or intangible, in which the plan has a beneficial ownership interest.” Id. By steering

these funds to their employers, Plaintiffs thus gave employees a future interest in

plan assets due to their uninterrupted status as plan beneficiaries.

         This conclusion is far from novel. In In re Luna, 406 F.3d 1192, 1199 (10th

Cir. 2005), a bankrupt employer claimed its failure to make plan contributions was

dischargeable because employees can’t own ‘non-existent’ assets. The district court

agreed, reasoning that unpaid contributions “do not become plan assets until they

have been paid into the particular funds.” Id. at 1198. Citing traditional distinctions

between present and future property interests, the Tenth Circuit overruled:


5
    Department of Labor Advisory Opinion No. 93-14A (May 5, 1993), 1993 WL 188473, at *4.

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      Pursuant to ordinary notions of property rights, the plan holds a future
      interest in the collection of the contractually-owed contributions. A
      future interest in property is “an interest [] which is not, but may
      become a present interest.” *** The plain meaning of the term “asset”
      includes a chose in action to collect contractually-owed contributions.
      (emphasis added)

      Id. at 1200. Like the bankrupt employer, Plaintiffs say unclaimed employee

funds don’t become plan assets until they’re deposited into the plan. They also think

DOL claims all funds allocated to employees are “plan assets”. (Doc. No. 2866 at

47-48). Convinced they’re right about this “very technical ERISA matter” even

though it’s “completely unsettled”, Plaintiffs concluded it would be wrong to

condition an employer’s receipt of employee funds on complying with the statute.

(Id.). The record shows their reasoning instantly clicked with the court:

             MS. GEE: [The DOL’s approach is to] essentially have the
      settlement fund administered as if it were holding a pot of money that
      belongs to the ERISA plan. ***

             THE COURT: That's kind of a built-in assumption.

             MS. GEE: Yes. But as a legal matter -- and this is a very technical
      ERISA matter *** [that] the plans have a property interest under
      ERISA. And *** there is fairly good authority out there that settlement
      funds held in a fund before distribution to an ERISA plan is not an
      ERISA plan asset. That becomes a plan asset after it has been
      distributed. So [the DOL] is presuming a legal point that doesn't exist
      here. (emphasis added)

      Id. This brief exchange reveals two clear errors: (1) that DOL believes

employee funds are ipso facto plan assets, and (2) that awarding employees’

unclaimed funds to their employers doesn’t make them plan assets. As a direct result

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of these errors, the court approved a $2.7 billion settlement without scrutinizing

ERISA’s multi-faceted impact.

           2. In Approving The Allocation Plan, The Representative
              Employers Breached Their Duty Of Loyalty To Employees.

      Proper judicial scrutiny would have exposed several violations of the

representative employers’ fiduciary responsibility. To begin, ERISA plan fiduciaries

must act “with the care, skill, prudence, and diligence under the circumstances then

prevailing that a prudent man acting in a like capacity and familiar with such matters

would use in the conduct of an enterprise of a like character and with like aims.” 29

U.S.C. §1104(a)(1)(B). The employer must especially “discharge his duties with

respect to a plan solely in the interest of participants and beneficiaries.” 29 U.S.C. §

1104(a)(1)). Closely related is the prohibition against dealing “with the assets of the

plan in his own interest or for his own account.” 29 U.S.C. § 1106(b)(1). Most

importantly, “the assets of a plan shall never inure to the benefit of any employer [].”

29 U.S.C. § 1103(c)(1). Consistent with Congress’ desire to protect beneficiaries,

these provisions are broadly construed. Leigh v. Engle, 727 F.2d 113, 126 (7th Cir.

1984). Liability may “be imposed even if there’s ‘no taint of scandal, no hint of self-

dealing, no trace of bad faith.’ Lowen v. Tower Asset Mgmt., Inc., 829 F.2d 1209,

1213 (2d Cir. 1987). To honor this public trust, DOL sounded the alarm:

      Class-member ERISA plans appear to be inadequately represented in
      the proposed settlement. [] Here, none of the class representatives is an
      ERISA plan. And the class member ERISA plans likely have adverse

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      interests to other class representatives, like their employer sponsors,
      given ERISA’s trust requirements and its fiduciary duties of loyalty,
      care, and prudence. (emphasis added)

      (Doc. No. 2812-12 at 7). Unfortunately, the court didn’t listen. As reinforced

below, its failure to appreciate the enormity of Plaintiffs’ economic conflict opened

a veritable floodgate of ERISA violations.

             3. The Employer Representatives            Also    Violated    ERISA’s
                Prohibited Transaction Rule.

      ERISA prohibits a fiduciary from causing the plan “to engage in a transaction,

if he knows or should know that such transaction constitutes a direct or indirect

lending of money or other extension of credit between the plan and a party in

interest.” 29 U.S.C. § 1106(a)(1)(B). A “party in interest” includes a plan fiduciary,

a service provider, or a sponsoring employer. 29 U.S.C. § 1002(14). The employer’s

fiduciary role can also be triggered by exercising discretionary authority or control

over plan assets. 29 U.S.C. § 1102(21)(A). To “lend” an asset is “to allow [its]

temporary use [], sometimes in exchange for compensation, on condition [the asset]

or its equivalent be returned.” Lend, Black's Law Dictionary (7th ed. 1999).

      Plaintiffs’ treatment of employees’ unclaimed funds displayed all of these

signs. In exchange for releasing BCBS, the employer representatives were allowed

to take their employees’ unclaimed contributions on the presumption they will




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deposit them into the company’s welfare plan.6 But employers now face a dilemma:

if they keep the money, they benefit personally; if the plan receives it, they complete

the loan. See, e.g. Owens v. Metro. Life Ins. Co., 210 F.Supp.3d 1344 (N.D. Ga.

2016) (fiduciary’s temporary use of plan assets constitutes “lending” under ERISA

§ 406); L.I. Head Start Child Development Services, Inc. v. Economic Opportunity

Com'n, 634 F.Supp.2d 290, 316 (E.D. N.Y. 2009) (employer breached fiduciary duty

by failing to deposit plan contributions). The employers can’t hide behind DOL’s

safe harbor rule either since (1) the funds represent past contributions for expired

coverage (2) the employees aren’t voluntarily giving the forfeited funds to their

employer and (3) depositing them into the welfare plan won’t expunge the employer

representatives’ ERISA violations.

       That Cochran raised this very issue shows Plaintiffs were fully aware of the

repercussions before snatching their employees’ unclaimed assets. Neither may the

class’ 270,000 employer-claimants plead ignorance. First, they were told they’re

receiving employee wages with no strings attached. Then, they were assured there’s

no need to share the spoils with them. If that didn’t catch the employers’ attention

immediately, the resulting windfall surely did. Yet class counsel looked Judge

Proctor square in the eye before swearing there’s no reason for concern:


6
   DOL chimed in that Plaintiffs caused “ERISA covered plans to release their antitrust claims—
i.e., “exchanging” them for whatever benefits flow from the settlement to the plans.” (Doc. No.
2812-13 at 8).

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      [J]ust like a weather man doesn't need to know which – or doesn't need
      to be told which way the wind is blowing, an ERISA fiduciary does not
      need to be told that there are ERISA issues when they receive notice or
      hear about a claim or litigation involving an ERISA plan.

      (Doc. No. 2866 at 49). Ironically, this guarantee came right after

acknowledging ERISA never came up after twelve years of litigation. (Id.).

Persuaded that employers will “do what’s right”, the court ignored DOL’s plea

before repurposing employee funds as plan assets and awarding the windfall to

employers. (Doc. No. 2866 at 18). Despite washing its hands of the whole matter,

the court still felt compelled to warn that “all ERISA duties [] apply, all ERISA

fiduciaries must comply with those duties, and this Settlement does nothing to

change or alter ERISA rights.” (Doc. No. 2931 at 76).

            4. The Settlement Violates ERISA’s Statutory Disclosure Rules.

      Unfortunately, the Settlement’s assault on ERISA doesn’t end there. Its

disclosure provisions require providing participants certain information in response

to their request. 29 U.S.C. § 1024(b)(4). Examples include an updated plan

summary, full plan description, latest annual report and “other instruments under

which the plan is established or operated.” (emphasis added) Firestone Tire and

Rubber Co. v. Bruch, 489 U.S. 101, 116 (1989). The idea is to ensure every

“participant knows exactly where he stands with respect to the plan.” Id.

      Nonetheless, the Settlement expressly forbids employees from requesting any

premium payment history from their employer, even though BCBS admits they’re

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the only reliable source. (11th Cir. Doc. No. 147 at 40). Even class counsel had to

work closely with employers to make “reasonable approximations of the

employer/employee split in determining appropriate pro rata shares.” (Id.). On the

other hand, the chances of employees saving their pay stubs for 15 years are slim-

to-none. If they try to prove their contributions anyway, they’ll get trapped in an

elaborate maze. In the end, the POA will decide for them because they simply “don’t

know where they stand”. (11th Cir. Doc. No. 147 at 133).

             5. By Pushing ERISA Downstream, The Court Spawned ‘Millions’
                of Questionable Employee Lawsuits.

      Last but not least, the Settlement releases BCBS from any and all liability

without excluding ERISA. (Doc. No 2610-2 at 49-50). This omission could render

an employee’s suit for breach of fiduciary duty virtually untenable. On one hand, the

release ensures BCBS can’t be drawn into the litigation; on the other hand,

employers will undoubtedly brandish it like a sword. Bottom line: the absence of an

ERISA carve out will dilute an already costly legal challenge with little hope of a

return. Rather than spawn ‘millions’ of dubious actions down the road, the court

should have resolved the problem once-and-for-all in the only forum created for this

purpose. Choosing to ignore ERISA instead will have the reverse domino effect:

    o While untold millions of employees still had valid claims,

    o Employers didn’t notify them of their ERISA rights.

    o Plaintiffs then repurposed their unclaimed funds as plan assets,

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    o Instead of depositing them into the common fund.

    o Giving employers a windfall of employee wages

    o With no obligation to deposit the funds into their plan,

    o Even though Plaintiffs released their ERISA claim against BCBS.

    o Which diminishes the employers’ ERISA liability

    o And shrouds potentially millions of suits with uncertainty,

    o When the problem could have easily been resolved in one class action.

      Two conclusions can be drawn from this outcome: (1) leveraging the

economic conflict to Plaintiffs’ advantage proves they didn’t vigorously represent

employees; (2) sanctioning the result with an order that’s beyond the pale of

permissible decisions proves the court abused its discretion.

   C. The Third Error Was Finding Plaintiffs Had Vigorously Prosecuted
      Employees’ Right To A Fair Share Of The Settlement’s Residuals When,
      In Fact, Employers Are Reaping A Windfall Of Employee Refunds.

      Apart from exposing Plaintiffs’ economic conflict, the litany of ERISA

violations also confirms they were unable (or unwilling) to safeguard the vulnerable

rights of untold millions in the workforce. Like GM Trucks, the proof of the pudding

is in the terms of the Agreement. The POA begins by conditioning payment of

refunds on submitting timely claims. (Doc. 2610-2 at 50). Once forfeited, the claim’s




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character switches from ‘employee asset’ to ‘settlement residual’.7 At that point, they

should be shipped straight to the common fund for equitable reallocation among the

claimants. (Doc. 2610-2 at 47-48). That is, in fact, how the settlement treats

employers’ unclaimed funds. (Doc. No. 2615-1 at 16). In contrast, the employees’

funds are repurposed as plan assets and shipped directly to the employer without any

restriction. (Doc. 2715-1 at 11). To add insult to injury, the Settlement’s own website

assures employers there’s no need to share this gift with them.8 Because Plaintiffs

failed to disclose these funds may be plan assets, the answer to this “Frequently

Asked Question” is inherently misleading. (Doc. No. 2812-13 at 8).

       Plaintiffs’ knee-jerk response to their conundrum is to give the Settlement a

thick coat of veneer. (11th Cir. Doc. No. 147 at 55, 122-23). Beneath the surface,

however, lie several troubling flaws. First is their appeal to the “economic evidence

concerning the relative contributions of employers and employees to healthcare

coverage.” (Id.). Championing the cause is Darrell Chodorow, Plaintiffs’ damage

expert. A more careful review of his report, however, would have revealed it centers

on his default allocation model. (11th Cir. Doc. No. 147 at 148). As a result, the

expert’s “painstaking assessment” has no bearing on the real issue at hand. (Id.). It




7
  “Residual Funds means funds that remain after the payment of all approved class member claims,
expenses, litigation costs, attorney fees, and other court−approved disbursements in an action
under this section.” www.lawinsider.com/dictionary/residualfunds (accessed 03/05/23).
8
  FAQ No. 38. https://www.bcbssettlement.com/faq. Accessed 03/02/23.

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also demonstrates why Rule 23 requires rigorously analyzing a settlement’s terms,

not blindly accepting an expert’s opinion.

       Next, Plaintiffs try to separate treating employers and employees the same

from taking “appropriate account of differences among their claims.” (Id. at 151).

Rule 23’s equitable treatment mandate, however, applies to distributing unclaimed

funds just as much as evaluating relative claims. See, e.g. In re Health Ins.

Innovations Sec. Litig. (M.D. Fla. 2021) at 16. (“Rule 23(e)(2)(D) is satisfied

because the Settlement treats Settlement Class Members equitably relative to one

another via the Plan of Allocation”). Plaintiffs overlook this fact for good reason:

they know that determining a claim’s value has nothing to do with allocating

forfeited funds. In other words, they understand that the strength of an employer’s

claim doesn’t excuse its conversion of employee assets.

       Another broken arrow in Plaintiffs’ quiver is claiming the “designation of

employers as residual claimants allowed the POD to increase employees’ default

allocation percentages.” (11th Cir. Doc. No. 147 at 55). That the individual default

percentage is near the bottom of the published range is reason enough to reject this

argument.9 But Plaintiffs don’t stop there. They also forget Cochran debunked the

entire defense in her opening brief with eight points:

9
 This default percentage is also 2% lower than the national average. On Employer Health Benefits:
2021 Annual Survey. (https://files.kff.org/attachment/Report-Employer-Health-Benefits-2021-
Annual-Survey.pdf) Accessed 03/03/23.


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    o    Zero-sum theory doesn’t apply to the distribution of unclaimed funds.

    o    Employee participation is raised by assigning the highest percentages only.

    o    In any event, the employers’ percentages were raised even higher.

    o    No FI group can ‘lay claim’ to funds held in a common pool.

    o    Distinguishing employees as claimants acknowledges their distinct interests.

    o    Certifying a class for settlement purposes removes evidentiary trial issues.

    o    Varying state remedies don’t defeat commonality and predominance.

    o    All Plaintiffs (including the employee representatives) have standing.

        That Plaintiffs didn’t refute a single point says it all. Instead, they applaud the

court’s “careful consideration” of ERISA before concluding “correctly, that the

Settlement does not purport to affect any ERISA rights, to release any ERISA

claims, or to relieve employers of their ERISA obligations”. (11th Cir. Doc. No. 147

at 55). As already demonstrated, however, several violations are woven into the

Settlement’s fabric. Even if they weren’t glaring, DOL’s warning was enough to

order everyone back to the bargaining table. The employees’ subclass counsel would

have then proposed several ways the employer representatives’ could honor their

dual fiduciary roles without mistreating employees or violating ERISA:

  (1) diffuse ERISA safely by distributing all unclaimed funds to the common pool

        for distribution to eligible claimants;




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  (2) honor ERISA fully by distributing employees’ unclaimed funds directly to the

      plans for their exclusive benefit;

  (3) avoid ERISA entirely by allowing subclass counsel to negotiate a fair POA on

      the employees’ behalf.

      The ramifications of each would be subject to subclass negotiation. That

Plaintiffs rejected all three to enrich themselves means only one thing: they

conspired to leverage their position for selfish gain. That they persist in denying

ERISA’s impact shows they also miss the heart of Cochran’s objection. In reality,

this appeal doesn’t hinge on proving the Settlement violates ERISA. The court’s real

mistake was pushing the issue downstream instead of addressing it head-on. By any

standard, a settlement that awards one group for violating another group’s rights

should never be certified.

II.   Plaintiffs’ Response Also Overlooks The Fact That Failing To Recognize
      The Fundamental Unfairness Of Treating Similarly-Situated Class
      Members Differently Is Sufficient Alone To Vacate The Order.

      Even if employees were adequately represented, Plaintiffs make light of the

separate ground for vacating the court’s order—fundamental fairness. See, e.g.

Subway: Guoliang Ma v. Harmless Harvest, Inc., 2018 WL 1702740 (E.D.N.Y. Mar.

31, 2018) at *7 (despite the class’ adequate representation, the “nature of the relief

rendered the settlement unfair under Rule 23(e)”). Whereas Cochran’s first

challenge scrutinized Plaintiffs’ motives, the second examines their impact. This



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inquiry is thus more about equitable results than relative contributions. The premise

is that parity in the nature of claims requires parity in the allocation of residuals.

      “While it is not the role of the Court to ‘delete, substitute or modify’

provisions of the settlement, the Court is obligated ‘to protect the unnamed members

of the class from unjust or unfair settlements affecting their rights.’” In re Svncor

ERISA Litig., 516 F.3d 1095, 1100 (9th Cir.2008). For a settlement to be ‘fair,

adequate and reasonable’, the court must specifically find “Rule 23(e)(2)(D) is

satisfied because [it] treats Settlement Class Members equitably relative to one

another via the Plan of Allocation.” In re Health Ins. Innovations Sec. Litig. (M.D.

Fla. 2021) at *16 (finding “[m]embers' recoveries are based upon their relative losses

and Settlement Class Members will receive a pro rata distribution from the Net

Settlement Fund, calculated in the same manner”). As long as an allocation

“provides recovery to Class Members based on the extent of their injuries,” Rule

23(e) is satisfied. Chavez v. PVH Corp. (N.D. Cal. 2015) at 12. See also In re Elec.

Carbon Prods. Antitrust Litig., 447 F. Supp. 2d 389, 404 (D.N.J. 2006) (pro rata

distribution “eminently reasonable and fair to the class members”); In re Airline

Ticket Comm'n Antitrust Litig., 953 F. Supp. 280, 285 (D. Minn. 1997) (fractional

shares are “cost-effective, simple, and fundamentally fair”).

      These cases establish that the mark of a fair allocation is being “impartial to

all class members”(emphasis added). Meyer v. Citizens and Southern Nat. Bank, 677



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F.Supp. 1196, 1206 (M.D. Ga. 1988) (“objectors made no effort to show [] the

method of allocating the settlement proceeds [] favored any group of class members

over another”). Against this backdrop, the POA clearly fails Rule 23’s fairness test.

“Partiality”, in fact, is its middle name: premium refunds not claimed by employers

are shared with the whole class, while employers get the “full boatload” of

employees’ unclaimed refunds—giving them “the lion’s share of the recovery.”

(Doc. No. 2866 at 7, 22). Ironically, the parties’ only point of agreement supports

Cochran’s position: but for the employers’ special treatment, the POA treats all

unclaimed funds the same. (11th Cir. Doc. No. 147 at 40).

      The employers’ elevated status cuts against the grain of equitable

distributions. A non-reversionary common fund requiring the submission of claims

must distribute all unclaimed funds to all eligible claimants in an equitable manner.

Rule 23(e)(2)(D). If any still remains, cy pres awards are made to charities that will

benefit the whole class. In re Airline Ticket Com’n Antitrust Litigation, 307 F.3d

679, 682 (8th Cir. 2002) (“In such case, the unclaimed funds should be distributed

for a purpose as near as possible to the legitimate objectives underlying the lawsuit,

the interests of class members, and the interests of those similarly situated.”) Id.

      Viewed this way, none of class counsel’s pontifications justifies the

Settlement’s discriminatory treatment of employees. The bare fact that their

unclaimed funds are captured by their own employer proves irrefutably they are



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being unfairly treated. The consequences of this disparity could also be devastating.

Since the Administrator declined to break down total class membership into

subgroups, Plaintiffs alone are privy to the allocation’s true impact. Absent these

disclosures, it is speculative (if not misleading) to claim the default allocation model

caused employees to submit claims at a higher rate than employers. To translate

what’s potentially at stake into “dollars and cents”, the following hypothetical makes

several assumptions.



         _________________________ * _____________________________
         ________________________________________________________


                 --BCBS estimates there are 114 million members in the

         unified class.10 Registered claimants include 5,989,798 employees

         and 266,292 employers. (Doc. No. 3029-1 at 2). Of $1.9 billion in

         the net settlement pool, $1.78 billion is allocated to the Fully-

         Insured subclass and $120 million to the Self-Insured subclass. If

         FI Groups only consisted of employers and employees, the default

         allocation model would award $1.5 billion to employers and $267

         million to employees.



10
     https://www.bcbs.com/sites/default/files/file-attachments/page/Blue_Facts_Sheet-2022.pdf

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              --According to DOL, the average annual premium for a

       single subscriber in 2021 was $7,739.11 Pursuant to the default

       allocation formula, the average employee contributed $1,160 of

       that total. After six-years (half of an FI Group’s class period), the

       average employee will have contributed $6,960 of the premiums.

              --In 2019, the Federal Trade Commission estimated the

       median participation rate for consumers in a claims-made

       settlement using a direct mail campaign was 9%.12 Applying this

       rate to BCBS’ Settlement, an estimated 66,553,311 employees

       (58%) are class members. By extrapolation, we may further

       estimate that employees contributed a total of $463,211,044,560

       toward premiums over the six-year period.

              --According to Plaintiffs’ damage expert, BCBS’ average

       premium overcharge in Alabama ranged from 3.4% to 5.5%. (Doc.

       2610-6 at 9).       Applying a 4.5% median overcharge to total

       premium contributions would place employees’ theoretical


11
   Employer Health Benefits: 2021 Annual Survey at 7. https://files.kff.org/attachment/Report-
Employer-Health-Benefits-2021-Annual-Survey.pdf. Accessed on Feb. 22, 2023.
12
   Consumers and Class Actions: A Retrospective and Analysis of Settlement Campaigns. Federal
Trade Commission (FTC Staff Report, 2019) at 1. As a crosscheck, this figure is 1% higher than
the Settlement’s verified participation rate overall. (See 11th Cir. Doc. No. 147 at 43).

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      damages at $20,844,497,005—$313 each. In the interest of

      resolving Plaintiffs’ claims, BCBS agreed to pay FI employees

      12.8% of this figure ($267,000,000). If every claim is approved,

      the average employee will receive $44.57 from the Settlement. In

      contrast, the average employer will receive $5,692.91.

            --Unfortunately, 91% of employees’ premium refunds

      ($242,970,000) went unclaimed. If these funds were allocated to

      the common fund for equitable distribution to claimants, the

      employees’ share would total $140,922,600—adding $23.53 to the

      average employee’s award (a 53% increase). Instead, every

      employer will add $529.20 of employee wages to its sizeable

      award. The employees’ loss is the employers’ gain.

      ___________________________ * ____________________________
      _________________________________________________________


                                 CONCLUSION

      Regardless of the actual numbers, the point remains the same: a train wreck

is about to happen if the Eleventh Circuit Court doesn’t intervene. For the reasons

set forth in Cochran’s opening and reply briefs, the order approving BCBS’

Settlement should be vacated for abuse of discretion. In finding Plaintiffs met Rule



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23(a)’s adequacy requirement, the district court committed factual and legal errors

that precluded settlement class certification. Alternatively, the distribution of

unclaimed funds violates Rule 23(e)’s fairness requirement because it treats

similarly-situated class members differently.

      Resolving these issues now instead of pushing them downstream is the only

way to preserve the Settlement’s fairness. Rather than trusting employers to “do

what’s right”, millions of workers are hoping this Court makes it right. Nothing in

Plaintiffs’ response changes what justice demands: vacating the order with

instructions to provide employees proper representation.


Dated: March 24, 2023           Respectfully submitted,

                                /s/ George W. Cochran
                                George W. Cochran
                                Counsel for Jennifer Cochran
                                and Aaron Craker
                                1981 Crossfield Circle
                                Kent, Ohio 44240
                                Tel: (330) 607-2187
                                Fax: (330) 230-6136
                                lawchrist@gmail.com




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                     CERTIFICATE OF COMPLIANCE

      This document complies with the word limit of FED. R. APP. P. 32(a)(7)(B)

because, excluding the parts of the document exempted by FED. R. APP. P. 32(f), this

document contains 6,498 words. This document also complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R.

App. P. 32(a)(6).

Dated: March 24, 2023.                         /s/ George W. Cochran
                                                 George W. Cochran
                                                 1981 Crossfield Circle
                                                 Kent, Ohio 44240
                                                 Tel: (330) 607-218
                                                 Fax: (330) 230-6136
                                                 lawchrist@gmail.com

                                               Counsel for Objectors-Appellants




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                         CERTIFICATE OF SERVICE

     I hereby certify that on March 24, 2023, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. Those counsel for Appellants

and Appellees who are registered ECF users will be served by the ECF system.

Dated: March 24, 2023.                      /s/ George W. Cochran
                                              George W. Cochran
                                              1981 Crossfield Circle
                                              Kent, Ohio 44240
                                              Tel: (330) 607-218
                                              Fax: (330) 230-6136
                                              lawchrist@gmail.com

                                            Counsel for Objectors-Appellants




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